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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:14-CR-00239-GEB
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           [PROPOSED] FINDINGS AND ORDER
14   SHERLYNN CHARLES,                                  DATE: May 4, 2018
                                                        TIME: 9 a.m.
15                               Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status on May 4, 2018.

21          2.     By this stipulation, defendant now moves to continue the status conference until June 22,

22 2018, and to exclude time between May 4, 2018, and June 22, 2018, under Local Code T4.

23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      The government has represented that the discovery associated with this case

25          includes investigative reports and related documents.

26                 b)      All of this discovery has been either produced directly to counsel and/or made

27          available for inspection and copying.

28                 c)      Counsel for defendant desires additional time to further investigate additional


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 1          matters and confirm evidence already provided.

 2                 d)      Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                 e)      The government does not object to the continuance.

 6                 f)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                 g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of May 4, 2018 to June 22, 2018,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
     Dated: May 1, 2018                                       MCGREGOR W. SCOTT
21                                                            United States Attorney
22
                                                              /s/ JILL M. THOMAS
23                                                            JILL M. THOMAS
                                                              Assistant United States Attorney
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25
     Dated: May 1, 2018                                       /s/ RONALD JAMES PETERS
26                                                            RONALD JAMES PETERS
27                                                            Counsel for Defendant
                                                              SHERLYNN CHARLES
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 3                                      FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED.

 5        Dated: May 1, 2018

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     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
